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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


 State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.



      JOINT POST-HEARING STATEMENT ON THE DIGITAL MARKETS ACT

       Pursuant to the Court’s request, Rem. Tr. 4647:18–4648:4, the Parties submit the

following Joint Post-Hearing Statement on the Digital Markets Act (“DMA”), 2022 O.J. (L 265)

36.

I.     Overview of the DMA Data Disclosure Requirements

       The DMA is a European Union law that imposes a series of obligations on statutorily

defined “gatekeepers.” The DMA was enacted by the European Parliament and Council on

November 1, 2022, and the European Commission designated Google and five other companies

as “gatekeepers” on September 6, 2023. Substantive obligations for the designated gatekeepers,

including Google, first went into effect six months later, on March 6, 2024.


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       One of the DMA’s obligations is DMA Article 6(11), which requires gatekeepers to

provide other online search engines with access to “ranking, query, click and view data” on “fair,

reasonable and non-discriminatory terms.” DMA, Art. 6(11). Article 6(11) further provides that

“[a]ny such query, click and view data that constitutes personal data shall be anonymi[z]ed.” Id.;

see also DMA, Preamble 61 (“[t]he relevant data is anonymized if personal data is irreversibly

altered in such a way that information does not relate to an identified or identifiable natural

person or where personal data is rendered anonymous in such a manner that the data subject is

not or is no longer identifiable”). These requirements are “intended to foster contestability from

third-party search engines.” Annual Report on Regulation (EU) 2022/1925 of the European

Parliament and of the Council on Contestable and Fair Markets in the Digital Sector and

Amending Directives (EU) 2019/1937 and (EU) 2020/1828 (Digital Markets Act), ¶ 50, COM

(2025) 166 final (Apr. 25, 2025).

II.    Google’s DMA Search Data Licensing Program

       In response to Article 6(11), Google has launched the European Search Dataset Licensing

Program, pursuant to which data is aggregated over a quarter and released after the end of the

following quarter (e.g., 2025 Q1 data is released in July 2025). For each distinct user search

query, Google’s dataset provides the following fields:

           a. Query string: the raw query as entered by users.

           b. Country: the EEA country where the query was issued, where the data passes

               Google’s anonymization protocols; otherwise states “EEA.”

           c. Device type: “desktop” or “mobile,” where the data passes Google’s

               anonymization protocols; otherwise states “combined.”

           d. Query count: the number of times a query has been issued over the quarter in the

               relevant country or in the EEA broken down by device type, as appropriate.

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           e. Result: the exact URL for each blue link result shown for the query and type of

               results for features, e.g., top text ad block or knowledge panel.

           f. Average rank: average rank of each result over the quarter. For ads, the average

               rank is not provided because ads can only appear in the dedicated ad space, so the

               position of the ad is indicated in the “Result” field.

           g. Impression count: the number of times the result has been shown for the query.

           h. Click count: the number of clicks on the result for the query.

       To anonymize data, Google applies two frequency thresholds to its DMA dataset: first, a

“k-threshold” for the query and, second, an “m-threshold” for the query and metadata. A query

meets the k-threshold if at least 30 different unique signed-in users worldwide issued the query

over a period of 13 months.1 For the m-threshold to be met, at least five different signed-in users

must have the same query / result / device / country combination in the relevant quarter.

Google will disclose the query and associated metadata (result, impressions, clicks, average rank,

country and device) if the query passes the k-threshold (or is on the query “allow-list” because

the query previously passed the k-threshold in a prior 13-month period) and the query / result /

device / country combination also passes the m-threshold in the relevant quarter. However, if the

m-threshold is not met for an individual device type, but is met across device types, Google will

disclose the data without breaking out device type. And if the m-threshold is not met in a given

EEA country, Google will apply the m-threshold at an EEA-wide level and, if the threshold is

met across the EEA, disclose combined data across the EEA instead.




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 If the query passes the k-threshold in any 13-month period, it will be put on an allow-list for 5
years, which means that it does not have to pass the threshold in subsequent periods.
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       “The Commission is in the process of assessing the compliance of [Google’s] licensing

solution with Article 6(11) DMA. . . . It has also been discussing the conditions for effective

data-sharing under Article 6(11) DMA with data protection authorities.” Annual Report on

Regulation (EU) 2022/1925 of the European Parliament and of the Council on Contestable and

Fair Markets in the Digital Sector and Amending Directives (EU) 2019/1937 and (EU)

2020/1828 (Digital Markets Act), ¶ 51, COM (2025) 166 final (Apr. 25, 2025).



Dated: May 28, 2025                          Respectfully submitted,



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